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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF KENTUCKY
______________________________________________________________________________

LESLIE LEAVELL,

               Plaintiff,

       v.                                            CASE NO.: 3:17-cv-00175-DJH-DW


RLJ MANAGEMENT CO., INC.

            Defendants.
______________________________________________________________________________

                             AGREED ORDER OF DISMISSAL
       Upon agreement of the Plaintiff, Leslie Leavell, and the Defendant, RLJ Management Co.,

Inc., and the Court being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against RLJ

Management Co., Inc., are hereby DISMISSED WITH PREJUDICE, each party to bear its own

attorneys’ fees and costs.



TENDERED BY:


/s/David W. Hemminger
David W. Hemminger
                                                                           September 22, 2017
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of September, 2017 I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to all parties of record.

                                              /s/David W. Hemminger
                                              David W. Hemminger
